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 UNITED STATES DISTRICT COURT
 oasmicr OF NEW JERSEY
                               —           —.---—.-.—-x             MagJCrIm. No. 09-50!
 UNITED STATES OF AMERICA,


                                                                    ORDER REQUESTING
               -AGAINST.                                            PERMISSION
                                                                    TO TRAVEL


 KELVIN CORJ3IN
                                       Defendant.


     YLEAS TAKE NOTICE, that l Christopher Resfroe, £sq., an attorney duly admitted to

 practice Law in the State of New Jersey do hereby request on behalf of KELVIN CORBIN

 pcrntisarnn to trael to his resideie located at 107 Maple Street, Neysville, NC on Friday, Apr1123

 2010.1115 teLephone number in North CarolIna 15910.743-0447 and his cell is 917-5774194. Mx.

 COrbin plans cii driving to North Carolina atone and stay6ng at said location until Sunday, May 2,

  20l0atwhichtimebewilldrivebacktoNewYok.

        AUSA Leslie Schwartz and Pm-trial Officer Michelle Reman have no objection to Kelvin

  Corbin traveling tóNorth Carollue.

         Pre-nial Officer Tvis Smith aral he takes no position on the matter.

  Dated: Forest Hills, NY
         April 22, 2010




  Michelle Roman, he-Trial                                                 —




                                                        SOORDERED




                                                    STANLEY R. CHESLER
                                                    United States District Judge
